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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-mj-00088-KLM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     MICHAEL AARON TEW,

     Defendant.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

       This matter is before the Court on the Motion to Withdraw [#25], filed by Defendant
Michael Aaron Tew’s private counsel Eric M. Creizman (“Creizman”). Mr. Creizman moves
to withdraw as Defendant’s counsel and asks that Defendant be appointed counsel under
the Criminal Justice Act. At Defendant’s initial appearance on July 9, 2020, Defendant
informed the Court that he “has retained private counsel and is not requesting court
appointed counsel.” See [#7]. When his initial counsel asked to withdraw, the Court
ordered Defendant to file a financial affidavit by July 24, 2020, for the Court to use to
determine whether to appoint counsel for Defendant. However, Mr. Creizman entered his
appearance on Plaintiff’s behalf instead. Thus, the Court is not in possession of a financial
affidavit by which to determine whether court-appointed counsel is appropriate in this case.
Accordingly,

      IT IS HEREBY ORDERED that, on or before August 20, 2020, Defendant shall
complete and file a financial affidavit (attached to this Minute Order) by which the Court
may determine whether to appoint counsel for Defendant.

       IT IS FURTHER ORDERED that the Motion to Withdraw [#25] is GRANTED to the
extent that Mr. Creizman is relieved of all further representation of Defendant.


       Dated: August 13, 2020
